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Attorneys for Defendant JOHN HUSZAR


                            UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                 PORTLAND DIVISION


 DALLAS BUYERS CLUB, LLC,                Case No.: 3:15-cv-0907-AC

              Plaintiff,                 DECLARATION OF J. CURTIS EDMONDSON
 v.                                      IN SUPPORT OF DEFENDANT’S
                                         OPPOSITION TO PLAINTIFF’S MOTION FOR
 JOHN HUSZAR                             EXTENSION OF TIME

              Defendants.


I, J. CURTIS EDMONDSON, declare as follows:



                           DECLARATION OF J. CURTIS EDMONDSON
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    1. I am an attorney licensed to practice law within the State of California, Washington,
        Oregon, and District of Columbia. I am admitted to several district and federal appellate
        courts.
    2. I am counsel of record for Defendant John Huszar (“Defendant”). I have been admitted
        to this court pro hac vice for this case. I have probably handled 30+ bittorrent cases for
        defendants in various districts across the United States.
    3. I am lead counsel on the case of Strike 3 Holdings, LLC v. John Doe, 17-cv-01731 in the
        Western District of Washington, before Judge Zilly. (“Strike 3 Case). Lead counsel for
        that case is Lincoln Bandlow.
    4. The Strike 3 case is similar to this case in that the plaintiffs allege that a subscriber has
        downloaded a movie using “bittorrent” and then sues the alleged infringer. Strike 3 has
        filed 2500+ cases of this type in the last 2 years. I estimated that Lincoln Bandlow is
        counsel of record on at least half of them and pro-haced in for most of the other 1500.
        But there is no dispute that he managed all of these 2500+ cases.
    5. The Strike 3 case is set for trial on September 30, 2019. Since the Strike 3 case is close
        discovery cutoff, I have had many phone conversations with Mr. Bandlow during the
        months of April and May of this year. We have had numerous email exchanges involving.
        During those two months he never mentioned taking over the Huszar matter.
    6. I also note that Wendy Lyon is counsel of record in Criminal Productions, Inc. v. Bekahi
        3:17-cv-00157-AC (DOR) having appeared on 2/21/2019. Ms. Lyon appeared over a
        month before appearing in this matter.
    7. The first time that Lincoln Bandlow reached out to me for an extension of time on this
        matter was Tuesday, June 4, 2019.
I swear under the penalty of perjury under the laws of the United States of America that the above
is true and correct.
Executed on:      June 7, 2019
                                           /s/ J. Curtis Edmondson
                                           J. CURTIS EDMONDSON
                                           Declarant




                             DECLARATION OF J. CURTIS EDMONDSON
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